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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF NEW YORK

                          HONORABLE DAVID N. HURD

                   UNIFORM PRETRIAL SCHEDULING ORDER

Matthews, et al.

                                                    Civil No. 6:24-CV-202

vs.                                                               DNH/TWD

Brunswick Corporation

      Counsel for all parties having reported on the status of this action as directed
by the Court, and the Court having considered the positions of the respective
counsel regarding a schedule for the progression of the case,

        IT IS ORDERED that:

(1) THE DEADLINES SET IN THIS SCHEDULING ORDER SUPERSEDE THE
DEADLINES SET FORTH IN FED. R. CIV. P.26(a)(3) AND ARE FIRM AND WILL
NOT BE EXTENDED, EVEN BY STIPULATION OF THE PARTIES, ABSENT
GOOD CAUSE. See Fed. R. Civ. P. 16(b).

(2)  VENUE MOTIONS are to be filed within sixty (60) days of the date of this
Order following the procedures set forth in Local Rule 7.1 (a)(2) and are to be
made returnable before the assigned Magistrate Judge.

(3)    JURISDICTION MOTIONS are to be filed within sixty (60) days of the date
of this Order following the procedures set forth in Local Rule 7.1 (a)(1) (unless a
party who is not an attorney is appearing pro se, in which case L.R. 7.1 (b)(2)
should be followed) and are to be made returnable before Judge Hurd.

(4)   JOINDER OF PARTIES: Any motion to join any person as a party to this
action shall be made on or before 9/30/2024.

(5)   AMENDMENT OF PLEADINGS: Any motion to amend any pleading in this
action shall be made on or before 9/30/2024.

(6)   STATUS REPORT: The parties are directed to file a status report on or
before 10/18/2024, by Plaintiff.




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(7)     DISCOVERY:

        Rule 26(a)(1) Mandatory Disclosures are to be exchanged by 5/17/2024.

        Rule 33 and 34 Requests must be served by 7/31/2024.

        All discovery in this matter is to be completed on or before 4/28/2025.
        Discovery Motions due 5/12/2025 . Service of discovery requests must be
        made a sufficient number of days before this deadline to allow responses to
        be served before the cut-off. Please refer to Local Rule 16.2 (Discovery Cut-
        Off).

        Special procedures for management of expert witnesses:

        There shall be binding disclosure of the identity of expert witnesses
        (including a curriculum vitae) as set forth below.

        (A) Expert Reports: With regard to experts who are retained or specially
        employed to provide expert testimony in the case or whose duties as an
        employee of the party regularly involve giving expert testimony:

              (i)   No later than 1/30/2025, 90 days prior to the discovery
              deadline set in Paragraph (7) above, plaintiff(s) shall identify any
              expert(s) and, unless waived, shall serve on the other parties the
              expert's written report pursuant to Fed. R. Civ. P. 26(a)(2)(B).

              Note: When a treating physician is expected to be called as a witness,
              he or she must also be identified in accordance with this rule. The
              production of written reports prepared by a treating physician,
              pursuant to Fed. R. Civ. P. 26(a)(2)(B), is encouraged as an aid to
              settlement, but not required. In the case of any treating professional
              or other expert witness not required by the court's rules to provide a
              written report, the party anticipating calling the witness must also
              disclose at least 90 days prior to the close of discovery, the subject
              matter on which the witness is expected to present evidence under
              Federal Rule of Evidence 702, 703, or 705 and a summary of the facts
              and opinions to which the witness is expected to testify, pursuant to
              Fed. R. Civ. P. 26(a)(2)(C).

              (ii)  No later than 3/14/2025, 45 days prior to the discovery
              deadline set in Paragraph (7) above, defendant(s) shall identify any
              expert(s) and, unless waived, shall serve on the other parties the
              expert's written report pursuant to Fed. R. Civ. P. 26(a)(2)(B).

              (iii) No later than 3/31/2025, 30 days prior to the discovery
              deadline set in Paragraph (7) above, all parties must identify all
              experts who will contradict or rebut evidence on the same subject
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           matter identified by another party under Subparagraphs 7(A)(i) and (ii)
           above, and unless waived, shall serve on the other parties such
           expert's written report pursuant to Fed. R. Civ. P. 26(a)(2)(B).

           (iv) No deposition of experts shall be taken until after the
           exchange of the expert reports, UNLESS THE PARTIES AGREE.

           (v)   Motions to preclude expert witness testimony must be filed and
           served on or before the motion deadline as set forth in Paragraph (8)
           below.

     (B) Failure to comply: The failure to comply with the deadlines set forth
     in Subparagraph (A) above may result in the imposition of sanctions,
     including the preclusion of testimony, pursuant to Fed. R. Civ. P. 16(f).

     (C) Unavailability of Expert Witness: In order to avoid the possibility of
     the unavailability of an expert witness at the time set for trial, counsel may
     preserve the testimony of such witness as outlined in Paragraph (13)(D)(ii)
     below for use at trial. In the absence of same, the trial will proceed without
     such testimony.

(8)   MOTIONS: Other than those made under Paragraphs (2) and (3) above,
motions are to be filed on or before 6/30/2025.

     Note: If no dispositive motion(s) are filed, the motion filing deadline
     becomes the Trial Ready Date. (See Trial Ready Date at Paragraph (9)(A)
     below.)

     (A) Non-Dispositive Motions: Non-dispositive motions (except venue
     motions-paragraph (2) above-and motions for injunctive relief) shall NOT be
     filed until after a conference with the Magistrate Judge, which is to be
     arranged through the Courtroom Deputy Clerk assigned to the Magistrate
     Judge. Before requesting such a conference to resolve discovery disputes,
     the parties must have complied with Local Rule 37.1.

     Non-dispositive motions, including discovery motions, shall be filed in
     accordance with Local Rule 7.1 (a)(2) and, except for motions for injunctive
     relief, shall be made returnable before the assigned Magistrate Judge.
     Motions for injunctive relief shall be made returnable before Judge Hurd,
     unless the case has been referred to a Magistrate Judge pursuant to 28
     U.S.C. § 636(c) ("consent" jurisdiction).

     (B) Dispositive Motions:          Dispositive motions shall be filed in
     accordance with Local Rule 7.1(a) and shall be made returnable before
     Judge Hurd, unless the case has been assigned to a Magistrate Judge on
     consent of the parties pursuant to 28 U.S.C. § 636(c).

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(9)     TRIAL DATES:

        (A)   TRIAL READY DATE:

              (i)   When no dispositive motion is filed, the motion filing
              deadline becomes the trial ready date. The Court will issue a notice
              scheduling a Final Pretrial Conference and Trial Date. Counsel may
              contact Judge Hurd's Courtroom Clerk, at any time, to request that a
              settlement conference or trial date be scheduled.

              (ii)  When a dispositive motion is filed and the motion filing
              deadline has expired, the case is marked trial ready upon issuance
              of the motion decision. Judge Hurd's Courtroom Clerk will contact
              counsel after issuance of the Court's decision on the motion to
              schedule a pretrial conference. Any request for an extension of the
              Rule 16 Uniform Pretrial Order deadline(s) will be addressed by Judge
              Hurd at the time of the conference.

              (iii) When a dispositive motion is filed and the motion filing
              deadline HAS NOT expired, the case will continue on the pretrial
              schedule previously set in the Rule 16 Uniform Pretrial Scheduling
              Order. Any request for an extension of the Rule 16 Uniform Pretrial
              Order deadline(s) should be addressed by the assigned Magistrate
              Judge.

        (B) TRIAL DATE: It is anticipated that the trial will take approximately 5
        days to complete. This is a jury trial.

        Note: The unavailability of any witness, expert or otherwise, will not be
        grounds for a continuance. To avoid a trial going forward without the
        testimony of an unavailable witness, counsel shall preserve the appropriate
        testimony, for trial, by written or video-taped deposition.

(10) CONSENT TO MAGISTRATE JUDGE: In accordance with the provisions
of 28 U.S.C. §636(c) and Fed.R.Civ.P. 73, you are notified that a United States
Magistrate Judge of this District Court is available to conduct any or all proceedings
in this case including a jury or nonjury trial, and to order the entry of a final
judgment. Exercise of this jurisdiction by a Magistrate Judge is only permitted if
all parties voluntarily consent. An appeal from a judgment entered by a Magistrate
Judge shall be taken directly to the United States Court of Appeals for the judicial
circuit in the same manner as an appeal from any other judgment of this District
Court. A consent form to the Magistrate Judge is attached to this order.

(11) SETTLEMENT CONFERENCE: A settlement conference may be scheduled
at the Court's direction or by the request of counsel AT ANY TIME. In addition to
counsel, a representative of each party with settlement authority must personally
attend the settlement conference, unless prior permission is granted by the Court
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to attend via telephone or video conference. A pretrial/settlement conference
statement form is attached and must be submitted to the Courtroom Clerk's
attention one week prior to the scheduled conference by email at
NYND_DNH_ECF_NOTICES@nynd.uscourts.gov. Counsel are directed NOT to
serve the settlement statement on opposing counsel.

(12) ASSESSMENT OF JUROR COSTS: The parties are advised that pursuant
to Local Rule 47.3, whenever any civil action scheduled for a jury trial is postponed,
settled, or otherwise disposed of in advance of the actual trial, then, except for
good cause shown, all juror costs, including Marshal's fees, mileage, and per diem,
shall be assessed against the parties and/or their counsel as directed by the Court,
unless the Court and the Clerk's Office are notified at least one full business day
prior to the day on which the action is scheduled for trial in time to advise the jurors
that it will be unnecessary for them to attend.

(13)   PRETRIAL SUBMISSIONS:

       (A) Non-Jury Trials: One week before the Final Pretrial Conference date
       or on any other date set by the Court, counsel shall electronically file the
       following documents with the Clerk's Office, with a copy served upon
       opposing counsel:

          • Joint Pretrial Stipulation (see Subparagraph (C) below);
          • Prepared Findings of Fact and Conclusions of Law;
          • Witness List (see Subparagraph (D)(i) below);
          • Exhibit Lists (see Subparagraph (E)(i) below);
          • Trial Brief concerning evidentiary issues (see Subparagraph (H)
            below);
          • All deposition transcripts in dispute (including video-taped
            depositions) to be used at trial (see Subparagraph (G) below); and
          • Motions in Limine (see Subparagraph (F) below).

       (B) Jury Trials: One week before the Final Pretrial Conference Date or
       on any other date set by the Court, counsel shall electronically file the
       following documents with the Clerk's Office, with a copy served upon
       opposing counsel:

          •   Joint Pretrial Stipulation (see Subparagraph (C) below);
          •   Court Ordered Voir Dire (see Attachment #1);
          •   Proposed Voir Dire;
          •   Witness Lists (see Subparagraph (D)(i) below);
          •   Exhibit Lists (see Subparagraph (E)(i) below);
          •   Trial Brief (see Subparagraph (H) below);
          •   Requests to Charge, including proposed Special Verdict Form (see
              Subparagraph (I) below);

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        • All deposition transcripts in dispute (including video-taped
          depositions) to be used at trial (see Subparagraph (G) below); and
        • Motions in Limine (see Subparagraph (F) below).

  (C) Joint Pretrial Stipulations: A joint pretrial stipulation subscribed by
  counsel for all parties shall be electronically filed with the Clerk's Office and
  shall contain:
         (i)    The basis of federal jurisdiction;
         (ii)   A list of all exhibits which can be stipulated into evidence or that
         will be offered without objection as to foundation; and
         (iii) Relevant (1) facts not in dispute, (2) facts in dispute, and (3)
         issues of law to be considered and applied by the Court.

  (D)     Witnesses:

          (i)     One week before the Final Pretrial Conference date, or on any
          other date set by the Court, counsel shall electronically file with the
          Clerk's Office, with a copy to opposing counsel, the following
          information regarding the witnesses that may be called to testify at
          trial other than solely for impeachment purposes.

                (a)   The name and address (city and state) of each witness,
                separately identifying those whom the party expects to present
                and those whom the party may call if the need arises, as well
                as a brief summary of the testimony to be offered by each
                witness.

                (b)    The designation of those witnesses whose testimony is
                expected to be presented by means of a deposition (including
                video-taped deposition), specifically identifying the pertinent
                portions of the deposition testimony to be offered.

          (ii)    The unavailability of any witness, expert, or otherwise, will
          not be grounds for a continuance. In order to avoid the possibility
          of going forward with the trial without testimony of an unavailable
          witness, counsel, where appropriate, shall preserve same before the
          trial date by written or video-taped deposition for possible use at trial.

  (E)     Exhibits:

          (i)    Exhibit Lists: Counsel shall electronically file with the Clerk's
          Office, with a copy to opposing counsel, an exhibit list on the form
          prescribed by the Court, a copy of which is attached to this Order.
          Counsel are to supply the exhibit number and exhibit description. The
          remaining boxes shall be left blank for the Courtroom Deputy.


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        (ii)    All documents and/or papers intended as exhibits or to be used
        during the course of trial, including but not limited to, documents,
        photographs, charts, diagrams, etc., shall be marked for identification
        in the manner prescribed below and must be assembled in BINDERS
        with each document properly marked at the lower right corner for
        identification purposes as directed below. Counsel shall provide a
        separate binder with a complete set of exhibits for the Clerk and for
        the Court on the first day of trial, and one binder to each opposing
        counsel.

        The exhibits shall have been inspected by the opposing party and
        copied at their expense (unless waived), NO LATER THAN ONE
        WEEK PRIOR TO THE FINAL PRETRIAL CONFERENCE DATE.
        The exhibit binders for the Clerk and the Court shall be presented to
        Judge Hurd's Courtroom Deputy at the beginning of trial.

        *NOTE: During the course of trial, the Courtroom Deputy shall
        take charge of exhibits which are received into evidence. At the
        conclusion of the trial, the Courtroom Deputy will immediately
        return all of the exhibits to the proper parties. It is the
        responsibility of the parties to maintain the exhibits and to
        produce the exhibits for any appeal. Videotaped deposition
        transcripts viewed at the trial shall be filed with the Clerk's Office
        and made part of the record and counsel is responsible for
        providing an additional copy of the transcript to the Courtroom
        Deputy.

        (iii) Exhibit Markers: Counsel shall fill in the appropriate markers
        leaving the "Date entered" and "Deputy Clerk" lines blank. All exhibits
        shall be assigned numbers by using a prefix of "P" for plaintiff, "D" for
        defendant, and "G" for Government.

        Plaintiff's exhibits should be denoted as: P-1, P-2, P-3, etc.
        Defendant's exhibits should be denoted as: D-1, D-2, D-3, etc.
        Government's exhibits should be denoted as: G-1, G-2, G-3, etc. In
        cases involving multiple defendants, the exhibits shall be denoted with
        the initial of the last name of the defendant and its numerical
        identification number.

        Stickers shall be affixed whenever possible to the lower right-hand
        corner of the exhibit. If the exhibit marker is going to cover any
        information on the exhibit, then affix the marker to the reverse side of
        the exhibit. Each exhibit shall also have an exhibit number in the
        upper right-hand corner of the exhibit. (P-1, P-2, etc. or D-1, D-2, etc.).

  (F)   Motions in Limine: One week before the Final Pretrial Conference
  date, or on any other date set by the Court, counsel shall electronically file
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  with the Clerk's Office, with a copy to opposing counsel, any motions in
  limine, citing the applicable rules of evidence and case law. Counsel shall
  file any response to a Motion In Limine no later than three days before the
  Final Pretrial Conference date.
  MOTIONS IN LIMINE MAY NOT OTHERWISE BE FILED WITHOUT
  LEAVE OF THE COURT.

  (G) Depositions: All depositions and video-taped depositions to be used
  at trial shall be brought to court on the day of trial. Not less than four weeks
  prior to the trial date, each party shall indicate to the opposing party the
  portion of the video deposition to be offered. To the extent possible,
  objections are to be resolved between the parties. One week before the
  Final Pretrial Conference, counsel shall forward to the Judge's chambers
  any portions of a deposition transcript intended to be used in trial that are
  in dispute (including video-taped depositions) for ruling at the Final Pretrial
  Conference. The parties must provide an edited version of any DVD to
  be shown to the jury at trial deleting any portions ruled inadmissible
  by the Court. The Court does not have the capability to start and stop a
  video during trial to edit certain portions of the DVD. All deposition
  transcripts, including videotaped depositions, that are not in dispute shall be
  brought to Court on the first day of trial. Counsel shall provide the Court with
  an additional copy of the "redacted" transcript of all video deposition
  testimony which is put into evidence at trial and shall be made a part of the
  record for filing with the Clerk's Office. Counsel must confirm with the
  Court that the DVD format is compatible with the Courtroom equipment
  prior to the first day of trial.

  (H) Trial Briefs: One week before the Final Pretrial Conference date, or
  on any other date set by the Court, counsel shall electronically file with the
  Clerk's Office, with a copy to opposing counsel, a trial brief containing
  argument and citations on any and all disputed issues of law, citing the
  applicable rules of evidence and case law. Trial Briefs should also include
  any evidentiary issues that are expected to arise.

  (I)    Requests to Charge: One week before the Final Pretrial Conference
  date, or on any other date set by the Court, counsel shall electronically file
  with the Clerk's Office a request to charge and a proposed Special Verdict
  Form, with a copy to opposing counsel, and email a copy of same in
  WordPerfect or Word format to Judge Hurd's Courtroom Clerk at
  NYND_DNH_ECF_NOTICES@nynd.uscourts.gov. The request to charge
  need only include instructions that are specific to the law in this case
  regarding liability, damages, and any unusual issues. The court has the
  usual boilerplate charge.

  (J)    Voir Dire: Counsel shall electronically file any proposed Voir Dire
  requests. Each party shall submit a numbered list of questions which the
  court, in the exercise of its discretion, may use during jury selection, and
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  counsel shall email a copy of any proposed Voir Dire questions in
  WordPerfect or Word format to Judge Hurd's Courtroom Clerk at
  NYND_DNH_ECF_NOTICES@nynd.uscourts.gov.

  (K) Court-Ordered Voir Dire: Counsel shall electronically file with the
  Clerk's Office the attached "Court-Ordered Voir Dire".

  (L)       Courtroom Technology: If the parties intend to utilize the courtroom
  equipment at the time of trial, counsel are directed to contact the Courtroom
  Deputy prior to the trial date to make arrangements for training and testing
  such equipment. Please keep in mind that the Court does not provide a
  person to run the equipment during trial. The courtroom is supplied with a
  DVD unit, visual evidence presenter, VGA connections for laptops (no
  internet), and interpreter/hearing impaired headsets. All non-proprietary
  DVD's (i.e., .avi, .mp3, .mp4, and .wmv) should be compatible with the
  Court's DVD player, however, prior to the trial date, counsel must confirm
  such compatibility for use at the time of trial. If any portion of the DVD should
  be redacted, it is the responsibility of counsel to provide a redacted copy for
  use at trial. Counsel may be required to utilize the visual presenter to publish
  exhibits to the jury. The visual evidence presenter will allow counsel to
  display documents, photos, objects, x-rays, and electronic presentations on
  monitors placed throughout the courtroom and in the jury box with touch
  screen monitors at the podium and witness stand. Laptop connections are
  available at the podium and at all counsel tables (no internet). Please note
  that audio cables are not available and counsel should provide their own, if
  necessary. If you are presenting evidence through a Macintosh laptop, a
  video convertor/adaptor is required and must be supplied by counsel. In the
  event counsel's equipment is not compatible with the courtroom's
  equipment, the Court is not responsible for supplying additional electronic
  parts to remedy this. One week prior to the trial date counsel may request
  that the court reporter provide a live realtime transcript or an end of day
  transcript.      There is a charge for these services and financial
  arrangements should be made ahead of time with the court reporter.
  When requesting a live realtime transcript the following is required: 1)
  litigation support software, (i.e., LiveNote, Bridge, Caseview); 2) hardware
  (i.e., if laptop does not have a serial port, a USB to serial adaptor is required).
  Additional courtroom technology information may be obtained on the court's
  webpage: http://www.nynd.uscourts.gov/courtroom-technology.

  (M)   Alternative Dispute Resolution:

        This action has been referred into the Mandatory Mediation Program.
        The Court has discussed with the parties the time frame for
        completion of the Mandatory two-hour mediation session. Mandatory
        Mediation shall be completed by June 16, 2025. The Court will issue
        a separate order referring this case into the Mandatory Mediation
        Program.
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DATED:    May 13, 2024
          Syracuse, NY




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                           COURT ORDERED VOIR DIRE
                        TO BE USED BY THE JUDGE AT TRIAL

CASE TITLE: Matthews, et al. vs. Brunswick Corporation
CIVIL ACTION NO.: 6:24-CV-202
ASSIGNED JUDGE OR MAGISTRATE JUDGE: DAVID N. HURD

                                     ATTACHMENT #(1)

        Each attorney is required to submit the following information on behalf of his/her client
for use by the Court during Voir Dire and must be filed with the Court one week before the Final
Pretrial Conference, or any other date set by the Court.

NAMES AND ADDRESSES OF ALL PARTIES TO THE LAWSUIT:




(use additional page if necessary)

YOUR NAME, FIRM NAME, ADDRESS AND THE NAME OF ANY PARTNER OR ASSOCIATE
WHO MAY BE AT COUNSEL TABLE DURING THE COURSE OF THE TRIAL.




(use additional page if necessary)

SET FORTH THE DATE OF THE OCCURRENCE, THE PLACE OF THE OCCURRENCE AND
A BRIEF STATEMENT OF THE EVENTS CENTRAL TO THE LITIGATION.




(use additional page if necessary)

SET FORTH THE NAMES AND ADDRESSES OF ALL LAY WITNESSES TO BE CALLED.




(use additional page if necessary)

SET FORTH THE NAMES AND ADDRESSES OF ALL EXPERT WITNESSES TO BE
CALLED GIVING A BRIEF DESCRIPTION OF THEIR AREAS OF EXPERTISE.

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(use additional page if necessary)

SET FORTH A BRIEF DESCRIPTION OF EACH AND EVERY CAUSE OF ACTION IN THE
COMPLAINT.




(use additional page if necessary)

SET FORTH A BRIEF DESCRIPTION OF EACH AND EVERY AFFIRMATIVE DEFENSE
ASSERTED AS WELL AS A STATEMENT ADDRESSING ANY COUNTERCLAIMS RAISED
IN THE ANSWER.




(use additional page if necessary)




PLEASE TAKE NOTICE that any delay in jury selection occasioned by the failure to provide this
information will be explained to the jury as to the extent of the delay and the attorney causing
same and if the delay causes a one (1) day or more postponement of this trial, appropriate
monetary sanctions will be imposed by the Court.



Submitted by: ___________________________________

Date: _______________________




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   UNITED STATES DISTRICT COURT              UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK             NORTHERN DISTRICT OF NEW YORK

CASE NO. 6:24-CV-202                      CASE NO. 6:24-CV-202

PLAINTIFF EXHIBIT NO.                     DEFENDANT EXHIBIT NO.

DATE ENTERED                              DATE ENTERED
      JOHN M. DOMURAD, CLERK                    JOHN M. DOMURAD, CLERK

BY: ______________________________        BY: ______________________________
            DEPUTY CLERK                              DEPUTY CLERK
    UNITED STATES DISTRICT COURT              UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK             NORTHERN DISTRICT OF NEW YORK

CASE NO. 6:24-CV-202                      CASE NO. 6:24-CV-202

PLAINTIFF EXHIBIT NO.                     DEFENDANT EXHIBIT NO.

DATE ENTERED                              DATE ENTERED
      JOHN M. DOMURAD, CLERK                    JOHN M. DOMURAD, CLERK

BY: ______________________________        BY: ______________________________
            DEPUTY CLERK                              DEPUTY CLERK
    UNITED STATES DISTRICT COURT              UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK             NORTHERN DISTRICT OF NEW YORK

CASE NO. 6:24-CV-202                      CASE NO. 6:24-CV-202

PLAINTIFF EXHIBIT NO.                     DEFENDANT EXHIBIT NO.

DATE ENTERED                              DATE ENTERED
      JOHN M. DOMURAD, CLERK                    JOHN M. DOMURAD, CLERK

BY: ______________________________        BY: ______________________________
            DEPUTY CLERK                              DEPUTY CLERK
    UNITED STATES DISTRICT COURT              UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK             NORTHERN DISTRICT OF NEW YORK

CASE NO. 6:24-CV-202                      CASE NO. 6:24-CV-202

PLAINTIFF EXHIBIT NO.                     DEFENDANT EXHIBIT NO.

DATE ENTERED                              DATE ENTERED
      JOHN M. DOMURAD, CLERK                    JOHN M. DOMURAD, CLERK

BY: ______________________________        BY: ______________________________
            DEPUTY CLERK                              DEPUTY CLERK




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                                                                                                                     Page 1 of ____
                                                        United States District Court
                                                       Northern District Of New York
Case No: 6:24-CV-202
Date: ____________________
Presiding Judge: David N. Hurd

                             □ Plaintiff                      □ Defendant                      □ Court

  Exhibit    Marked for         Admitted Into
                                                  Remarks                Witness               Exhibit Description
   No.      Identification       Evidence




Exhibits Returned to Counsel (Date): _______________

Signature: ______________________________

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Case No. 6:24-CV-202
                                                                                                                Page _____ of _____


  Exhibit    Marked for        Admitted Into
                                                  Remarks           Witness               Exhibit Description
   No.      Identification      Evidence




Exhibits Returned to Counsel (Date): _______________

Signature: ______________________________


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             PRETRIAL & SETTLEMENT CONFERENCE STATEMENT
                        ( NOT FOR PUBLIC VIEW )
 ** THIS DOCUMENT WILL BE PROVIDED TO THE CLERK AND NOT FILED
                  IN ACCORDANCE WITH L.R. 5.7

CASE NAME: Matthews, et al. vs. Brunswick Corporation

ACTION NO.: 6:24-CV-202

ASSIGNED JUDGE: DAVID N. HURD

ASSIGNED MAGISTRATE JUDGE: THÉRÈSE WILEY DANCKS

        Each Attorney is required to submit the following information on behalf of his or her
client in short, concise form, in order to present a brief overview of the facts of the case. This
information will be used by the Court during the scheduled final pretrial/settlement conference
and therefore must be provided to the Court five (5) days in advance of the conference
date.

PARTY/PARTIES REPRESENTED;




(use additional page if necessary)

A BRIEF PERSONAL HISTORY REGARDING YOUR CLIENT(S);




(use additional page if necessary)

A BRIEF STATEMENT OF THE FACTS OF THE CASE;




(use additional page if necessary)

A BRIEF STATEMENT OF THE CLAIMS AND DEFENSES, i.e., STATUTORY OR OTHER
GROUNDS UPON WHICH THE CLAIMS ARE FOUND; AND EVALUATION OF THE
PARTIES' LIKELIHOOD OF PREVAILING ON THE CLAIMS AND DEFENSES; AND A
DESCRIPTION OF THE MAJOR ISSUES IN DISPUTE; SET FORTH ANY DEMANDS OR
OFFERS FOR SETTLEMENT

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(use additional page if necessary)

A SUMMARY OF THE PROCEEDINGS TO DATE;




(use additional page if necessary)

AN ESTIMATE OF THE COST AND TIME TO BE EXPENDED FOR FURTHER DISCOVERY,
PRETRIAL AND TRIAL;




(use additional page if necessary)

A BRIEF STATEMENT OF THE FACTS AND ISSUES UPON WHICH THE PARTIES AGREE;




(use additional page if necessary)

ANY DISCREET ISSUES WHICH, IF RESOLVED, WOULD AID IN THE DISPOSITION OF
THE CASE;




(use additional page if necessary)

THE RELIEF SOUGHT;




(use additional page if necessary)

THE PARTIES' POSITION ON SETTLEMENT, INCLUDING PRESENT DEMANDS AND
OFFERS, THE HISTORY OF PAST SETTLEMENT DISCUSSIONS, OFFERS AND
DEMANDS;



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(use additional page if necessary)

PREFERRED TRIAL LOCATION, APPROXIMATE LENGTH OF TRIAL, AND WHETHER
TRIAL IS JURY OR NON-JURY;




(use additional page if necessary)

       The Court requires that each party be represented at each pretrial conference by an
attorney who has the authority to bind that party regarding all matters identified by the Court for
discussion at the conference and all reasonably related matters including settlement authority.

     Copies of the settlement statement shall NOT be served upon the other parties. This
document will not be filed and will not be made available for public view.

        Should the case be settled in advance of the pretrial/settlement conference date,
counsel are required to notify the court immediately. Failure to do so could subject counsel for
all parties to sanctions.

Signature of Counsel:       ______________________________

Dated:                      ______________________________




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AO 85 (Rev. 01-09) Notice, Consent and Reference of a Civil Action to a Magistrate Judge



                                                UNITED STATES DISTRICT COURT
                                                                            for the

_________________________________________________                        District of       ______________________________________________


__________________________________________________
                      Plaintiff
                        v.                                                                    Civil Action No.

__________________________________________________
                      Defendant


                    NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

           Notice of a Magistrate Judge's availability. A United States Magistrate Judge of this court is available to conduct all proceedings
in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may then be appealed
directly to the United States Court of Appeals like any other judgment of this court. A Magistrate Judge may exercise this authority only
if all parties voluntarily consent.

         You may consent to have your case referred to a Magistrate Judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judgment who may otherwise be
involved with your case.

        Consent to a Magistrate Judge's authority. The following parties consent to have a United State Magistrate Judge conduct all
proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

          Parties' printed names                      Signatures of parties or attorneys                          Dates

_______________________________                _______________________________________                   _________________________

_______________________________                _______________________________________                   _________________________

_______________________________                _______________________________________                   _________________________

_______________________________                _______________________________________                   _________________________

                                                                     Reference Order

         IT IS ORDERED: This case is referred to a United States Magistrate Judge to conduct all proceedings and order the entry of a
final judgment in accordance with 28 U.S.C. §636(c) and Fed.R.Civ.P.73.


Date:     ___________________________                                              _______________________________________________
                                                                                                 District Judge's Signature

                                                                                   _______________________________________________
                                                                                                 Printed name and title

Note: Return this form to the clerk of the court only if you are consenting to the exercise of jurisdiction by a United States Magistrate
Judge. Do not return this form to a Judge.




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